                 UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF TENNESSEE
                           AT GREENEVILLE

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )     NO. 2:06-CR-72
                                             )
MEKAELA MEADOWS, ET AL.                      )


                                    ORDER

             The defendant, Mekaela Meadows, has filed an objection to the Report

and Recommendation of the United States Magistrate Judge recommending denial

of the motions to suppress filed by defendants Meadows and Lanier.1 [Doc. 64].

For the reasons which follow, the objection will be overruled and the motions to

suppress denied.

             The defendant sought to suppress evidence discovered as a result of the

search of Rooms 233 and 235 at the Best Western Motel in Johnson City,

Tennessee, both of which were rented to defendant Meadows. Though the search

was pursuant to a warrant, the affidavit by which the warrant was obtained

contained information the officer obtained by means of a earlier warrantless entry

of room 233 at the request of the motel manager, who had been informed by his


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       Defendant Lanier has not objected to the Report and
Recommendation, and has since entered into a plea agreement and
entered a plea of guilty.


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maid staff, and observed himself, a substance cooking in the room, which he

believed to be methamphetamine, or some other illegal drug. The defendant

submits that the motel manager should not have requested, nor permitted, the

officer’s entry into the room without a warrant.

             The Magistrate Judge concluded that exigent circumstances justified

the entry of the officer into the motel room based on the risk of danger, relying

upon United States v. Johnson, 22 F.3d 674, 680 (6th Cir. 1994). Specifically, the

manager of the motel testified he contacted the police due to concerns about the

danger to his staff and customers if methamphetamine were being manufactured in

the room. The defendant submits that the concerns were unjustified, since a

description of the cooking operation in the room by the manager should have led

the officer to realize that the defendant was “only” cooking crack cocaine. The

Magistrate Judge found this to be a distinction without difference, based upon the

testimony of Agent Thompson that the manufacture of crack cocaine also involved

the use of volatile chemicals, which in some instances, has led to fire and explosion.



             After careful consideration of the record, the Court is of the opinion

that the United States Magistrate Judge’s factual summary is accurate and his

conclusions are correct. Therefore, it is hereby ORDERED that the defendant


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Meadow’s objection to the United States Magistrate’s Report and Recommendation

is OVERRULED, the Report and Recommendation of the United States Magistrate

Judge is ADOPTED and APPROVED, and the defendants’ motions to suppress

are DENIED. [Docs. 27, 45, 46, 63 and 64].



           ENTER:

                                          S/J. RONNIE GREER
                                          UNITED STATES DISTRICT JUDGE




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